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                                                                                      A-588-874
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                                                                                  3 AR Remand
                                                                      Consol. Court No. 21-00533
                                                                  POR: 10/01/2018 – 09/30/2019
                                                                               Public Document
                                                                                 E&C/OVII: JJZ
                              Nippon Steel Corporation v. United States
                           Consol. Court No. 21-00533 (CIT July 1, 2022)
                         Certain Hot-Rolled Steel Flat Products from Japan

                           FINAL RESULTS OF REDETERMINATION
                               PURSUANT TO COURT REMAND

I.      SUMMARY

        The U.S. Department of Commerce (Commerce) prepared final draft results of

redetermination pursuant to the remand opinion and order of the U.S. Court of International

Trade (the Court) in Nippon Steel Corporation v. United States, Consol. Court No. 21-00533,

(CIT July 1, 2022) (Remand Order). These final results of redetermination concern the 2018-

2019 administrative review of certain hot-rolled steel flat products from Japan.1 The plaintiff is

Nippon Steel Corporation2 (Nippon Steel).

        Nippon Steel sought judicial review of the Final Results, claiming, inter alia, that

Commerce improperly excluded certain service-related revenue from the U.S. price calculation.

On April 29, 2022, Commerce notified the Court that we agreed with Nippon Steel that we had

inadvertently left the service-related expenses in question out of our calculations, and we

requested a voluntary remand to adjust Nippon Steel’s U.S. price. On July 1, 2022, the Court

granted Commerce’s voluntary remand request.


1
  See Certain Hot-Rolled Steel Flat Products from Japan: Final Results of Antidumping Duty Administrative
Review and Final Determination of No Shipments; 2018-2019, 86 FR 47615 (August 26, 2021) (Final Results), and
accompanying Issues and Decision Memorandum (IDM).
2
  Commerce found that Nippon Steel, Nippon Steel Nisshin Co., Ltd., and Nippon Steel Trading Corporation are
affiliated companies that should be treated as a single entity and as the successor-in-interest to Nippon Steel &
Sumitomo Metal Corporation, Nisshin Steel Co., Ltd., and Nippon Steel & Sumikin Bussan Corporation,
respectively. See Certain Hot-Rolled Steel Flat Products from Japan: Notice of Final Results of Antidumping Duty
Changed Circumstances Review, 84 FR 46713 (September 5, 2019).
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        Pursuant to the Court’s Remand Order, we have reconsidered our determination in the

Final Results regarding Nippon Steel’s service-related revenue in the U.S. price calculation. We

have recalculated Nippon Steel’s antidumping duty rate in these final results of redetermination

to include these service-related revenues in U.S. price, and we have revised the antidumping duty

rate for Nippon Steel accordingly.

II.     BACKGROUND

        In the Final Results, Commerce found that Nippon Steel’s rate of dumping during the

period of review was 11.70 percent. For the U.S. price margin calculation in the Final Results,

Commerce stated that it “relied on the total revenue as reported by {Nippon Steel} in its Section

C sales database” when determining U.S. price.3 However, on further review, we find that we

instead relied on only a subset of these revenues when determining net U.S. price, and that we

inadvertently left out certain separately-reported service-related revenues (i.e., embossing

revenue, slitting revenue, and cutting to length revenue).4 Therefore, Commerce requested a

voluntary remand to recalculate the U.S. price by adding these separately reported service-related

revenues.

        On July 1, 2022, at our request, the Court remanded the Final Results with respect to the

exclusion of these service-related revenue from the U.S. price calculation. On July 19, 2022,

Commerce issued Draft Remand Results and solicited comments from interested parties.5 On




3
  See Final Results IDM at Comment 4; see also Nippon Steel’s Letter “Certain Hot-Rolled Steel Flat Products from
Japan: NSC’s Response to the Department’s Section C Questionnaire,” dated June 29, 2020.
4
  See Memorandum, “Antidumping Duty Administrative Review of Certain Hot-Rolled Steel Flat Products from
Japan: Final Results Analysis for Nippon Steel Corporation,” dated August 20, 2021.
5
  See Memorandum, “Nippon Steel Corporation v. United States Consol. Court No. 21-00533 (CIT July 1, 2022)
Certain Hot-Rolled Steel Flat Products from Japan: Draft Results of Redetermination of Pursuant to Court
Remand.,” dated July 19, 2022.


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July 25, 2022, we received comments from Nippon Steel and Nucor Corporation (Nucor).6 Our

responses to all comments received are included in the next section.

III.       COMMENTS ON DRAFT REMAND RESULTS AND ANALYSIS

Nippon Steel Comments:

       •   Nippon Steel agrees with Commerce’s reconsideration of the issue and the decision to

           include Nippon Steel’s reported U.S. revenue for extra services in the calculation of the

           net U.S. Price. However, Commerce’s one revision to the formula for U.S. net price of

           the margin program code is not sufficient to fully implement the inclusion of Nippon

           Steel’s reported U.S. revenue for extra services in the dumping margin calculation.7

       •   Commerce should also make revisions to the calculations of: (1) the net price used in the

           differential pricing test; and (2) the revenue for the constructed export price (CEP) profit

           rate.8

       •   Alternatively, Commerce could modify the calculation of the adjusted U.S. gross unit

           price by adding these three service-related revenues to the adjusted U.S. gross unit price,

           rather than adding them to the U.S. net price calculation. Using either approach would

           change Nippon Steel’s dumping margin from 10.38 percent to 10.12 percent.9




6
  See Nippon Steel’s Letter, “Re: Certain Hot-Rolled Steel Flat Products from Japan: Comments on Draft Results of
Redetermination,” dated July 25, 2022 (Nippon Steel Comments); see also Nucor’s Letter, “Re: Certain Hot-Rolled
Steel Flat Products from Japan: Comments on Draft Results of Redetermination,” dated July 25, 2022 (Nucor
Comments).
7
  See Nippon Steel Comments at 2.
8
  Id. at 3.
9
  Id. at 4.


                                                       3
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Nucor Comments:

     •   For the final results, Commerce should return to its original, service revenue-exclusive

         calculations, because Nippon Steel has not established that the record supports the

         addition of the service-related revenues to U.S. price.10

     •   Because Nippon Steel did not demonstrate that the further manufacturing costs associated

         with the services at issue were reported (and subtracted from U.S. price), it did not

         demonstrate its eligibility for its desired revenue adjustment.11

     •   Commerce has long held that the party seeking a direct price adjustment bears the burden

         of proving entitlement to such an adjustment. Given the lack of clarity and lack of record

         support, Nippon Steel has not met that burden, and Commerce should continue to deny

         these revenue adjustments for the final remand results.12

Commerce’s Position: We agree with Nippon Steel that these service-related revenues should

be included in the calculation of the net U.S. price. In its Section C response, Nippon Steel

explained that for certain CEP sales made by Nippon Steel’s U.S. affiliate, Steelscape LLC

(Steelscape), Nippon Steel charged extra for embossing, slitting and cutting to length services.13

These extra charges appear as separate line-items on Steelscape’s invoice issued to its

unaffiliated U.S. customers.14 Therefore, Nippon Steel added the following fields

EMBOSSREVU, SLITREVEU and CTLREVU, to its U.S. sales database to report the on-

invoice revenue amounts for embossing, slitting and cutting to length.15 Nippon Steel submitted

sample invoices to establish that Steelscape charged some of its customers separately for

10
   See Nucor Comments at 2.
11
   Id. at 3.
12
   Id.
13
   See Nippon Steel’s letter, “Re: Certain Hot-Rolled Steel Flat Products from Japan: NSC’s Response to the
Department’s Section C Questionnaire,” dated June 29, 2020 (Nippon Steel Section C Response), at C-37.
14
   Id.
15
   Id.


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embossing, slitting or cutting to length.16 The field of Nippon Steel’s total revenue

(TOTALREVU) summed the amounts including these three fields to report the total U.S.

revenue on Steelscape’s CEP sales.17 Furthermore, Nippon Steel reported these service-related

costs, recorded in Steelscape’s further manufacturing cost centers, as part of the total further

manufacturing costs, and it tied the cost center costs to its trial balance and total cost of

manufacturing.18 Therefore, Commerce agreed with Nippon Steel that these service-related

revenues should be added to the U.S. price and asked the court to grant Commerce a voluntary

remand on this issue.

        Furthermore, we agree with Nippon Steel that, in addition to adding these service-related

revenue to U.S. net price in the dumping margin program, the Macros program also needs to

account for these adjustments. Therefore, we added these three service-related revenues to the

net price used in performing the differential pricing test and in computing the revenue for CEP

profit rate.

IV.     FINAL RESULTS OF REDETERMINATION

        Pursuant to the Court’s granting of our request for a voluntary remand, we have

recalculated Nippon Steel’s U.S. price and margin calculation for Nippon Steel by adding these

three separately-reported service-related revenues to the U.S. price.19 If these remand results of

redetermination are affirmed by the Court, we intend to issue amended Final Results providing

the updated dumping margin below:



16
   Id. at Exhibit C-13.
17
   Id. at C-37.
18
   See Nippon Steel’s letter, “Re: Certain Hot-Rolled Steel Flat Products from Japan: NSC’s Response to the
Department’s Section E Questionnaire,” dated June 26, 2020 (Nippon Steel Section E Response), at E-20 and
Exhibits E-8 and E-9.
19
   See Memorandum, “Antidumping Duty Administrative Review of Certain Hot-Rolled Steel Flat Products from
Japan: Calculation for the Final Remand Redetermination,” dated concurrently with these final results of
redetermination.


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                                                           Weighted-Average Dumping
                       Producer/Exporter
                                                               Margin (percent)
 Nippon Steel Corporation/Nippon Steel Nisshin Co.,
                                                                       10.12
 Ltd./Nippon Steel Trading Corporation
                                  8/1/2022




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 Signed by: ABDELALI ELOUARADIA

Abdelali Elouaradia
Deputy Assistant Secretary
 for Enforcement and Compliance




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